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                               UNITED STATES DISTRICT COURT
                                DISTRICT OF MASSACHUSETTS


                         )
UNITED STATES OF AMERICA )
                         )
     v.                  )                               Case No. 1:20-cr-10111-RWZ
                         )
CHARLES LIEBER           )
                         )
     Defendant.          )
                         )


         JOINT STATUS REPORT AND REQUEST FOR SCHEDULING ORDER

        The United States and the defendant hereby submit the following joint status report

addressing Local Rule 117.1(a). The parties respectfully ask the Court to issue a scheduling order

that is consistent with this report:

        1)    There are 56 days remaining until the trial must begin under the Speedy Trial Act.

        2)    All discovery has been produced, all discovery disputes have been resolved, and all

              pretrial motions under Fed. R. Crim. P. 12(b) have been filed and briefed. The parties

              await the Court’s decision on the defendant’s motion to suppress (ECF No. 170).

        3)    The parties request a trial date of December 13, 2021. The parties expect the trial to last

              approximately one week, absent any unanticipated delays.

        4)    The government agrees to provide the defendant with exculpatory information

              identified in Local Rule 116.2(b)(2), and with a general description of any crime, wrong

              or act the government proposes to use pursuant to Fed. R. Evid. 404(b), no later than 21

              days before trial. 1


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 Although it is not covered by Local Rule 117.1, the government agrees to make its expert disclosures, if
any, no later than 45 days before trial. The defendant agrees to make his expert disclosures no later than
21 days before trial.
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       5)    The government intends to provide statements, as defined by 18 U.S.C. § 3500, of

             witnesses it intends to call in its case-in-chief no later than 14 days before trial.

       6)    The parties agree to disclose witness and exhibit lists no later than 14 days before trial.

       7)    The parties agree to file motions in limine, proposed jury instructions, and proposed voir

             dire questions no later than 10 days before trial. Oppositions to motions in limine will

             be due before the final pretrial conference.

       11) The parties have not yet discussed the possibility of factual stipulations, but will do so

             before trial.

       12) The parties ask the Court to schedule a final pretrial conference on December 8, 2021,

             five days before the start of the trial.

       The parties further agree to exclude the time between the date of this filing until the date of

the trial, December 13, 2021, on grounds that the ends of justice served by the exclusion of time

outweigh the best interest of the public and the defendant in a speedy trial. 18 U.S.C. § 3161(h)(7)(A).



                                                 Respectfully submitted,

                                                 NATHANIEL R. MENDELL
                                                 Acting United States Attorney

                                         By:     /s/ Jason A. Casey
                                                 JASON A. CASEY
                                                 JAMES R. DRABICK
                                                 Assistant United States Attorneys


Dated: September 28, 2021




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                                 CERTIFICATE OF SERVICE

        I hereby certify that this document was filed of September 28, 2021, through the ECF
system, which will provide electronic notice to counsel as identified on the notice of Electronic
Filing.

                                            /s/ Jason A. Casey
                                            Jason A. Casey
                                            Assistant United States Attorney




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